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                        N THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA

  DISPLAY TECHNOLOGIES, LLC,            §
                                        §
  Plaintiff,                            §             Case No: 0:19-cv-61897-RS
                                        §
  vs.                                   §             PATENT CASE
                                        §
  KLIP XTREME, LLC                      §             JURY TRIAL DEMANDED
                                        §
  Defendant.                            §
  _____________________________________ §

                                 JOINT MOTION TO DISMISS

         Under Federal Rule of Civil Procedure 41, the parties hereby move the Court to dismiss all

  of Plaintiff’s claims against Klip Xtreme, LLC WITH PREJUDICE and to dismiss all of

  Defendant’s claims against Plaintiff Display Technologies LLC WITHOUT PREJUDICE with

  each party to bear its own attorneys’ fees and costs. The parties request that the Court enter the

  proposed order of dismissal submitted herewith.

  Dated: February 7, 2020                             Respectfully Submitted,
                                                      /s/ Howard L. Wernow
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